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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. MJ12-385
 9

10                                 Plaintiff,

11          v.                                            DETENTION ORDER

12   XING CHEN,
13
                                   Defendant.
14

15   Offense charged:

16          Bank Fraud, in violation of 18 U.S.C. §§ 1344 and 2

17   Date of Detention Hearing: August 6, 2012

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has no ties to this community.

22          2.      Defendant has limited ties to the United States.

23          3.      Defendant has substantial connections with China.

24          4.      Defendant has no reason to stay in the United States if released.

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 1         5.    There appear to be no conditions or combination of conditions other than

 2               detention that will reasonably assure the appearance of defendant as required or

 3               ensure the safety of the community.

 4         IT IS THEREFORE ORDERED:

 5         (1)   Defendant shall be detained and shall be committed to the custody of the

 6               Attorney General for confinement in a correction facility separate, to the extent

 7               practicable, from persons awaiting or serving sentences or being held in custody

 8               pending appeal;

 9         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

10               counsel;

11         (3)   On order of a court of the United States or on request of an attorney for the

12               government, the person in charge of the corrections facility in which defendant

13               is confined shall deliver the defendant to a United States Marshal for the

14               purpose of an appearance in connection with a court proceeding; and

15         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

16               counsel for the defendant, to the United States Marshal, and to the United States

17               Pretrial Services Officer.

18         DATED this 6th day of August, 2012.

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                                               AJAMES P. DONOHUE
21                                              United States Magistrate Judge

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